                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-5

                                            No. 214A20

                                      Filed 5 February 2021

     IN THE MATTER OF: S.R.F.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 12

     February 2020 by Chief Judge Thomas M. Brittain in District Court, Transylvania

     County. This matter was calendared in the Supreme Court on 6 January 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Mary Ann J. Hollocker for             petitioner-appellee   Transylvania      County
           Department of Social Services.

           Susan H. Boyles for appellee Guardian ad Litem.

           Robert W. Ewing for respondent-appellant mother.


           MORGAN, Justice.

¶1         Respondent-mother appeals from the trial court’s order terminating her

     parental rights to “Sarah,”1 a minor child born in September 2014. Although the trial

     court also terminated the parental rights of Sarah’s father, he is not a party to this

     appeal. Because we conclude that the trial court properly adjudicated the existence




           1 We use this pseudonym to protect the juvenile’s privacy and for ease of reading.
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     of grounds to terminate respondent-mother’s parental rights based on her neglect of

     Sarah, we affirm.

                         Factual Background and Procedural History

¶2         On 28 March 2018, Transylvania County Department of Social Services (DSS)

     obtained nonsecure custody of Sarah and filed a juvenile petition alleging that she

     was neglected and dependent. The trial court held an adjudicatory hearing on 30 May

     2018 at which the parties stipulated to the following facts:

                  12. On or about October 17, 2017, [DSS] received a Child
                      Protective Services report that [Sarah] had been
                      exposed to a physical altercation between [respondent-
                      mother] and a man named Casey.

                  13. [Sarah] was in the presence of the domestic violence
                      incident when Casey hit, smacked, and choked
                      [respondent-mother].

                  14. On or about October 18, 2017, [DSS] received a Child
                      Protective Services report alleging [respondent-
                      mother] was using meth and leaving [Sarah] with
                      who[m]ever and drugs are being sold out of the home
                      where the child lives.

                  15. . . . Law enforcement went to the home and found
                      methamphetamine. [Respondent-mother] was charged
                      with Felony Possession [of] Methamphetamine.
                      Charges are currently pending. [Sarah] was at the
                      home during the raid.

                  16. On or about October 19, 2017, [respondent-mother]
                      made [a] plan for [Sarah] to reside with her
                      grandmother . . . and then later changed the plan to
                      her father, David . . . . David and [his wife] are unable
                      to continue to provide care for [Sarah] at this time.
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17. On or about October 21, 2017, [a DSS] Social Worker .
    . . met with [respondent-mother] in Transylvania
    County jail and [respondent-mother] agreed to [a]
    safety assessment. . . .

    ....

22. [Respondent-mother] did not contact the social worker
    upon release from jail. [She] has not completed a
    substance abuse assessment. [She] has not complied
    with drug screen requests from the Department.

    ....

24. On or about March 5, 2018, [respondent-mother] was
    charged with Felony Breaking and/or Entering and
    Felony Larceny after Breaking/Entering for stealing
    items from her grandmother’s home. Charges are
    currently pending.

25. [Respondent-mother] admitted to the social worker
    that drugs were sold out of the home where the juvenile
    was residing.

26. [Respondent-mother] admitted to the social worker
    that she has an addiction problem and was using
    methamphetamine.

    ....

29. . . . [Respondent-mother] was incarcerated at the time
    of the petition.

30. [Sarah] has been exposed to an injurious environment
    while in her mother’s care. The juvenile has been
    exposed to domestic violence and substance abuse.
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                   31. [Respondent-mother’s] substance abuse has impeded
                       her ability to provide appropriate care and supervision
                       of the juvenile.

     Based on these stipulated facts, the trial court entered an order on 12 June 2018

     adjudicating Sarah to be a neglected and dependent juvenile.

¶3         The trial court held a dispositional hearing on 13 June 2018 and subsequently

     entered a “Disposition Order” on 2 August 2018. As a result of the hearing and the

     order, the trial court granted custody and placement authority over Sarah to DSS and

     specifically sanctioned Sarah’s transfer from kinship care into a foster placement

     recommended by DSS. The trial court provided one hour of supervised visitation per

     week with Sarah to respondent-mother and ordered respondent-mother to contact

     DSS in order to establish a case plan and to “follow any and all parts” thereof.

     Respondent-mother signed her DSS case plan on 14 June 2018.

¶4         After a permanency planning hearing on 14 November 2018, the trial court

     established a primary permanent plan for Sarah of reunification, with a secondary

     plan of adoption and termination of parental rights. However, the trial court

     discontinued respondent-mother’s visitation with Sarah due to respondent-mother’s

     repeated failure to attend scheduled visits and the resulting distress caused to Sarah.

     The trial court offered the prospect of future visitation if respondent-mother would

     “reengage.”
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¶5         Following a hearing on 15 May 2019, the trial court changed Sarah’s primary

     permanent plan to termination of parental rights and adoption. The trial court found

     that respondent-mother was incarcerated and had not “made any attempts to work

     on her [case] plan” since the previous hearing.

¶6         DSS filed a motion to terminate the parental rights of both respondents to

     Sarah on 15 July 2019. After a series of continuances, the trial court held a hearing

     on the motion to terminate parental rights on 15 January 2020 and entered an order

     terminating respondents’ parental rights on 12 February 2020.

¶7         The trial court adjudicated the existence of two statutory grounds for

     terminating respondent-mother’s parental rights: (1) respondent-mother’s neglect of

     Sarah under N.C.G.S. § 7B-1111(a)(1) (2019), and (2) respondent-mother’s willful

     failure to make reasonable progress to correct the conditions leading to Sarah’s

     removal from the home in March 2018 under N.C.G.S. § 7B-1111(a)(2) (2019). The

     trial court then considered the dispositional factors in N.C.G.S. § 7B-1110(a) (2019)

     and concluded that it was in Sarah’s best interests to terminate respondent-mother’s

     parental rights. Respondent-mother gave timely notice of appeal from the

     termination of parental rights order.
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¶8          In her appeal to this Court, respondent-mother challenges both of the grounds

     for termination of her parental rights which were adjudicated by the trial court.2 She

     contends the court’s adjudications are unsupported by its findings of fact and based

     on findings not supported by the evidence. Respondent-mother does not separately

     contest the trial court’s determination of Sarah’s best interests at the dispositional

     stage of the proceeding under N.C.G.S. § 7B-1110(a). We thus limit our review to the

     court’s adjudicatory findings and conclusions.

                                            Adjudication

¶9          Under this Court’s well-established standard of review,

                   [w]e review a district court’s adjudication under N.C.G.S. §
                   7B-1111(a) to determine whether the findings are
                   supported by clear, cogent and convincing evidence and the
                   findings support the conclusions of law. Unchallenged
                   findings of fact are deemed supported by competent
                   evidence and are binding on appeal. Moreover, we review
                   only those findings needed to sustain the trial court's
                   adjudication.

                   The issue of whether a trial court’s findings of fact support
                   its conclusions of law is reviewed de novo. However, an
                   adjudication of any single ground for terminating a
                   parent’s rights under N.C.G.S. § 7B-1111(a) will suffice to
                   support a termination order. Therefore, if this Court


            2 In an “abundance of caution,” respondent-mother also challenges the trial court’s

     adjudications of dependency under N.C.G.S. § 7B-1111(a)(6) (2019) and willful abandonment
     under N.C.G.S. § 7B-1111(a)(7) (2019), insofar as the trial court relied on these additional
     grounds. Although the trial court made findings that include language found in N.C.G.S. §
     7B-1111(a)(6) and (7), the termination of parental rights order makes no reference to either
     of these provisions. The trial court relied only upon N.C.G.S. § 7B-1111(a)(1) and (2) as its
     grounds for terminating respondent-mother’s parental rights.
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                     upholds the trial court’s order in which it concludes that a
                     particular ground for termination exists, then we need not
                     review any remaining grounds.

       In re J.S., 374 N.C. 811, 814–15, 845 S.E.2d 66, 70–71 (2020) (extraneity omitted).

¶ 10          In the instant case, the trial court adjudicated grounds to terminate

       respondent-mother’s parental rights for neglecting Sarah under N.C.G.S. § 7B-

       1111(a)(1). A juvenile is deemed “neglected” if the child is denied “proper care,

       supervision, or discipline” by the child’s parent or caretaker, if the juvenile “lives in

       an environment injurious to the juvenile’s welfare[,]” or if the juvenile “has been

       abandoned[.]” N.C.G.S. § 7B-101(15) (2019).

¶ 11          When termination of parental rights is based on neglect, “if the child has been

       separated from the parent for a long period of time, there must be a showing of . . . a

       likelihood of future neglect by the parent.” In re D.L.W., 368 N.C. 835, 843, 788 S.E.2d

       162, 167 (2016) (citing In re Ballard, 311 N.C. 708, 713–15, 319 S.E.2d 227, 231–32

       (1984))3. “When determining whether such future neglect is likely, the district court

       must consider evidence of changed circumstances occurring between the period of




              3 As we have more recently determined in our opinion rendered in In re R.L.D., No.

       122A20, 2020 N.C. LEXIS 1043, at *5 n.3 (N.C. Dec. 11, 2020), a showing of past neglect and
       a probability of future neglect is not necessary to support a determination that a parent’s
       parental rights to a juvenile are subject to termination on the basis of neglect pursuant to
       N.C.G.S. 7B-1111(a)(1) in light of the fact that such a determination is also permissible in
       the event that there is a showing of current neglect.
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       past neglect and the time of the termination hearing.” In re Z.V.A., 373 N.C. 207, 212,

       835 S.E.2d 425, 430 (2019) (citing Ballard, 311 N.C. at 715, 319 S.E.2d at 232).

¶ 12         Respondent-mother challenges several of the trial court’s findings of fact on

       the basis that they are unsupported by the evidence introduced at the termination

       hearing. She first claims that the evidence does not support Finding of Fact 14(6),

       which states that the trial court’s initial Disposition Order entered on 2 August 2018

       required her and respondent-father to “[o]btain a domestic violence assessment and

       follow any recommended treatment[.]”

¶ 13         We agree with respondent-mother that the Disposition Order did not contain

       an express directive to address the issue of domestic violence, even though exposure

       to domestic violence in respondent-mother’s home was one of the reasons for Sarah’s

       adjudication as a neglected juvenile on 13 June 2018. However, in light of the

       uncontested portions of Findings of Fact 16 and 17, which state that respondent-

       mother signed a case plan with DSS on 14 June 2018 and that her DSS case plan

       required her “to engage in domestic violence treatment which she has failed to do,”

       we conclude that the trial court’s erroneous finding about the terms of the Disposition

       Order on this subject and respondent-mother’s failure to comply in this area

       constitute harmless error. As respondent-mother does not contest Findings of Fact 16

       and 17, they are binding on appeal. Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d

       729, 731 (1991). Since the Disposition Order required respondent-mother to “follow
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       any and all parts” of her DSS case plan, the error that she identifies in Finding of

       Fact 14(6) is unavailing to her appeal. See generally In re M.C., 374 N.C. 882, 887,

       844 S.E.2d 564, 568 (2020) (concluding that “the erroneous finding is not necessary

       to support the trial court’s legal determination that grounds existed for the

       termination of respondent’s parental rights”).

¶ 14         Respondent-mother next objects to those portions of Finding of Fact 17 which

       state that she was ordered to obtain “a comprehensive clinical assessment which she

       never completed” and that she failed to “engage in substance abuse treatment . . . by

       not having the assessment.” Respondent-mother claims that there is no evidence in

       the record that she was required to have a “comprehensive clinical assessment”

       (CCA). She further contends that the record shows that she submitted to a mental

       health and substance abuse assessment as ordered by the trial court.

¶ 15         While we again agree with respondent-mother that the findings of fact that she

       has identified and challenged are erroneous, we also again conclude that these errors

       are harmless in light of the trial court’s related findings and supporting evidence.

       While the record contains no evidence that respondent-mother was ordered to obtain

       a CCA,4 the trial court did order, however, that respondent-mother was required to



             4  North Carolina law does not define or establish uniform protocols for a CCA. A
       manual published by the North Carolina Department of Health and Human Services
       provides the following description:
                     The CCA is a face-to-face evaluation and must include the
                     following elements:
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enter into a case plan with DSS that included the following components: “obtain a

mental health and substance abuse assessment [and] follow all recommendations of

the assessment[.]” Whatever specific distinctions may exist between a CCA and a

“mental health and substance abuse assessment,” they are irrelevant given

respondent-mother’s lack of progress in addressing the causes of Sarah’s 12 June

2018 adjudication as a neglected juvenile.




                • A description of the presenting problems, including
                  source of distress, precipitating events, and associated
                  problems or symptoms;
                • A chronological general health and behavioral history
                  (including both mental health and substance abuse) of
                  the individual’s symptoms, treatment, and treatment
                  response;
                • Current medications (for both physical and psychiatric
                  treatment);
                • A review of biological, psychological, familial, social,
                  developmental, and environmental dimensions to
                  identify strengths, needs, and risks in each area;
                • Evidence of beneficiary and legally responsible person’s
                  (if applicable) participation in the assessment;
                • Analysis and interpretation of the assessment
                  information with an appropriate case formulation;
                • Diagnoses from the DSM-5 [or any subsequent editions],
                  including mental health, substance use disorders, and/or
                  intellectual/developmental disabilities, as well as
                  physical health conditions and functional impairment;
                  and
                • Recommendations for additional assessments, services,
                  support, or treatment based on the results of the CCA.
N.C. DEP’T OF HEALTH &amp; HUM. SERVS. DIV. OF MENTAL HEALTH, DEV. DISABILITIES, AND
SUBS. ABUSE SERVS., APSM45-2, RECORDS MGMT. &amp; DOC. MANUAL FOR PROVIDERS OF
PUBLICLY-FUNDED MENTAL HEALTH, INTELL. OR DEV. DISABILITIES, &amp; SUBS. USE SERVS. &amp;
LOCAL MGMT. ENTITIES-MANAGED CARE ORGS., ch. 3-2 (Dec. 1, 2016).
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¶ 16          The evidence at the termination of parental rights hearing showed that

       respondent-mother obtained a mental health assessment and substance abuse

       assessment at Meridian on 14 June 2018 but failed to comply with the recommended

       treatment. Respondent-mother had an updated substance abuse assessment on 11

       December 20195 while she was living in Forsyth County following her release from

       prison in October 2019, but she again failed to follow the assessor’s treatment

       recommendations. The assessor had recommended, based on respondent-mother’s

       self-report that respondent-mother had been sober since her arrest for possession of

       methamphetamine and other drugs on 28 April 2019, that respondent-mother attend

       “a relapse prevention program at Daymark” and “twelve-step meetings and Celebrate

       Recovery” due to the high rate of relapse associated with methamphetamine use.

       However, respondent-mother declined to do so. Accordingly, although we disregard

       the improper finding by the trial court that respondent-mother failed to obtain a

       substance abuse assessment, we fully credit the trial court’s proper finding that

       respondent-mother failed to engage in the recommended treatment as required by

       her case plan. See In re S.D., 374 N.C. 67, 83, 839 S.E.2d 315, 328 (2020).

¶ 17          Respondent-mother also challenges the following segment of Finding of Fact

       27:




              5 DSS Social Worker Jodi Hopkins testified that mental health and substance abuse

       assessments are considered valid for a period of one year.
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                           27.   As of the date of this hearing, due to the
                    respondent parents’ continued substance abuse and
                    domestic violence [emphasis added], failure to work on
                    their case plan and obtain treatment, and failure to work
                    toward reunification with the child, there is a substantial
                    likelihood of further neglect if child was placed in the
                    custody of said respondents.

       Respondent-mother objects to the trial court’s determination that she continued to

       engage in substance abuse and domestic violence at the time of the termination

       hearing. Respondent-mother specifically argues that “the finding that [she] continued

       to engage in substance abuse and domestic violence is a conclusion of law and should

       be treated as such” for purposes of appellate review. See generally State v. Sparks,

       362 N.C. 181, 185, 657 S.E.2d 655, 658 (2008) (“Findings of fact which are essentially

       conclusions of law will be treated as such on appeal.” (extraneity omitted)). She then

       submits that the trial court’s conclusion about her continued substance abuse and

       domestic violence was “not supported by any findings of fact” in the order terminating

       respondent-mother’s parental rights.

¶ 18         We hold that the trial court’s determination that respondents continued to

       engage in substance abuse and domestic violence is properly designated as a finding

       of fact rather than as a conclusion of law. In the event that the trial court had used

       the words “substance abuse” and “domestic violence” as legal terms of art in its order

       to clearly articulate a legal ruling, then respondent-mother’s characterization of these

       terms might be more persuasive. See generally Sparks, 362 N.C. at 185, 657 S.E.2d
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       at 658 (“In distinguishing between findings of fact and conclusions of law, as a general

       rule, any determination requiring the exercise of judgment or the application of legal

       principles is more properly classified a conclusion of law.” (extraneity omitted)).

       However, in the context in which the trial court’s observation is rendered, we construe

       the trial court’s determination that respondent parents engaged in “continued

       substance abuse and domestic violence” to mean that they still acted in such a

       manner at the time of the termination hearing. We do recognize, however, that the

       trial court’s ending determination in Finding of Fact 27 that this conduct of

       respondent parents creates “a substantial likelihood of further neglect if child was

       placed in the custody of said respondents” is in the nature of a conclusion of law. See

       In re J.O.D., 374 N.C. 797, 807, 844 S.E.2d 570, 578 (2020).

¶ 19         Notwithstanding     this   Court’s   disagreement    with   respondent-mother’s

       disputed classification of the trial court’s determination, we find insufficient

       evidentiary support for the portion of Finding of Fact 27 that she was participating

       in “continued substance abuse and domestic violence” at the time of the termination

       of parental rights hearing on 15 January 2020. DSS presented evidence that

       respondent-mother had multiple drug-related arrests and periods of incarceration

       during the course of the underlying juvenile case. DSS Social Worker Hopkins also

       testified that respondent-mother was on probation and awaiting trial on felony drug

       charges at the time of the termination hearing. However, respondent-mother’s three
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       most recent drug screens had been negative for the presence of controlled substances;

       for in Finding of Fact 17, the trial court acknowledged that respondent-mother “did

       submit to some [drug screens,] and the most recent ones were negative.” Similarly,

       although DSS adduced evidence of respondent-mother’s involvement in a single

       domestic violence incident at her boyfriend’s residence in August 2018 after Sarah

       had entered nonsecure custody, the agency did not present evidence of any

       subsequent episodes of domestic violence. As a result, we disregard the portion of

       Finding of Fact 27 concerning “continued substance abuse and domestic violence.”

       See In re J.M.J.-J., 374 N.C. 553, 559, 843 S.E.2d 94, 101 (2020).

¶ 20         Having addressed each of respondent-mother’s objections to the trial court’s

       challenged findings of fact, we now consider her claim that the court’s findings as a

       whole do not support its conclusion of law in support of its adjudication of neglect

       under N.C.G.S. § 7B-1111(a)(1), to wit:

                           4. The respondent parents have neglected the minor
                    child [Sarah]. Due to the respondent parents’ substance
                    abuse and improper care and supervision of the child, the
                    child was adjudicated to be a neglected and dependent
                    juvenile by order entered in this matter following hearing
                    on May 30, 2018. Despite the movant having referred the
                    parents to services aimed at remedying the issues that lead
                    [sic] to the child being placed out of the home of the
                    respondents, including referrals to various agencies to help
                    address substance abuse issues and improvement of
                    parenting skills, said respondents failed to meaningfully
                    engage in their case plan. The respondent parents’
                    unwillingness to document an ability to provide a safe and
                    appropriate home for the minor child, together with the
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                    failure to address their substance abuse issues and
                    domestic violence issues, and failure to meaningfully
                    engage in their case plan[,] demonstrate there is a
                    reasonable likelihood that neglect [of] the child would
                    reoccur in the future if the child was placed in the custody
                    of said respondents, and said facts constitute a ground to
                    terminate the respondent parents’ parental rights to the
                    minor child pursuant to N.C.[G.S.] § 7B-1111(a)(1).

¶ 21         While she does not deny her prior neglect of Sarah, respondent-mother

       contends that the trial court erred in concluding that Sarah was likely to experience

       further neglect if the child were returned to respondent-mother’s custody. See

       generally In re J.O.D., 374 N.C. at 807, 844 S.E.2d at 578 (explaining that the

       “determination that neglect is likely to reoccur if [the juvenile] was returned to [the

       parent’s] care is more properly classified as a conclusion of law”). We must determine

       therefore whether the trial court’s valid findings of fact demonstrate a likelihood of

       future neglect by respondent-mother at the time of the termination of parental rights

       hearing. In re D.L.W., 368 N.C. at 843, 788 S.E.2d at 167.

¶ 22         The trial court’s supported findings of fact indicate that respondent-mother

       has a Child Protective Services history dating back to 2014 which denotes repeated

       reports of improper supervision and care, substance abuse, and domestic violence.

       The findings also detail the circumstances that led DSS to assume nonsecure custody

       of Sarah in March 2018 and resulted in the child’s adjudication as a neglected and

       dependent juvenile in June 2018. Specifically, the findings describe Sarah’s

       “expos[ure] to domestic violence and substance abuse” in respondent-mother’s care,
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       as well as respondent-mother’s incarceration on criminal charges, lack of stable

       employment or housing, and self-professed addiction to methamphetamine.

¶ 23         As summarized in Conclusion of Law 4, the trial court’s findings of fact further

       reflect respondent-mother’s failure to “meaningfully address[]” the issues of

       substance abuse and domestic violence which led to Sarah’s status as a neglected and

       dependent juvenile. These findings recognize that respondent-mother obtained no

       domestic violence or substance abuse treatment, except for a brief period of substance

       abuse treatment while she was incarcerated in 2019. More generally, said findings

       illustrate respondent-mother’s failure to “meaningfully engage” in any of the

       requirements of her court-ordered DSS case plan, which also included the completion

       of parenting classes and the attainment of stable housing and employment. The

       findings also catalog respondent-mother’s failure to visit or contact Sarah after 21

       August 2018 and respondent-mother’s dereliction to provide any financial support for

       Sarah while the child was in DSS custody.

¶ 24         Other findings—specifically Finding of Fact 17—demonstrate the trial court’s

       consideration of the evidence of changed circumstances which are favorable to

       respondent-mother. Finding of Fact 17 credits respondent-mother with obtaining

       some substance abuse treatment while in prison. The evidence at the termination
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       hearing showed that she received approximately four weeks of “MRT classes”6 while

       incarcerated for a probation violation. However, respondent-mother did not complete

       the MRT program following her release from confinement on 8 October 2019 and did

       not obtain any additional substance abuse treatment at the time of the termination

       hearing. Finding of Fact 17 also favorably acknowledged respondent-mother’s

       negative drug screens.

¶ 25          “A parent’s failure to make progress in completing a case plan is indicative of

       a likelihood of future neglect.” In re M.A., 374 N.C. 865, 870, 844 S.E.2d 916, 921

       (2020) (quoting In re M.J.S.M., 257 N.C. App. 633, 637, 810 S.E.2d 370, 373 (2018)).

       Here, the trial court’s findings of fact demonstrate an extended period of respondent-

       mother’s failure to comply with the DSS case plan which she signed on 14 June 2018,

       with particular emphasis upon respondent-mother’s failure to comply with the

       conditions of her case plan directly related to the issues of domestic violence and

       substance abuse. See In re C.J., 373 N.C. 260, 263, 837 S.E.2d 859, 861 (2020); In re

       M.A.W., 370 N.C. at 154–55, 804 S.E.2d at 517–18. The findings also emphasize

       respondent-mother’s complete lack of involvement with Sarah since 21 August 2018.

       See In re D.L.A.D., No. 123A20, 2020 WL 6815091, at *5 (N.C. Nov. 20, 2020) (“An




              6 Moral Reconation Therapy (MRT) is “a cognitive behavioral program conducted in a

       group setting, designed to reduce criminal thinking and reinforce positive behaviors and
       habits.” Jamie Markham, A Visit to the Burke CRV Center, NORTH CAROLINA CRIMINAL LAW
       (May 23, 2019, 4:07 PM), https://nccriminallaw.sog.unc.edu/a-visit-to-the-burke-crv-center/.
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extended period in which a parent does not attempt to visit the child could show [‘a

future propensity to be inattentive to the child.’]”); In re A.S.T., No. 18A20, 2020 WL

6815097, at *6 (N.C. Nov. 20, 2020) (relying in part on the respondent-father’s failure

to attempt to contact the child in affirming trial court’s conclusion of a probability of

future neglect). Respondent-mother’s few weeks of attending a prison-based

substance abuse program, followed by a brief period of apparent sobriety leading up

to the termination of parental rights hearing, is insufficient to negate the trial court’s

determination that respondent-mother was likely to subject Sarah to further neglect

if the child were returned to the custody of respondent-mother. See In re O.W.D.A.,

No. 397A19, 2020 WL 6815126, at *6 (N.C. Nov. 20, 2020) (“[A]lthough respondent-

father may have made some minimal progress during his most recent incarceration,

. . . these eleventh-hour efforts did not outweigh the evidence of his persistent failures

to make improvements while not incarcerated . . . .”); In re A.S.T., No. 18A20, 2020

WL 6815097, at *6 (affirming adjudication under N.C.G.S. § 7B-1111(a)(1) where

“[r]espondent has failed to appreciably address his substance abuse issues . . . and

has only shown an extended abstinence from cocaine use while incarcerated”).

Accordingly, we hold that the trial court properly concluded that grounds existed to

terminate respondent-mother’s parental rights to Sarah for neglect pursuant to

N.C.G.S. § 7B-1111(a)(1).
                                             IN RE S.R.F.

                                             2021-NCSC-5

                                          Opinion of the Court



¶ 26         Having upheld the trial court adjudication of neglect under N.C.G.S. § 7B-

       1111(a)(1), we need not review its additional adjudication of willful failure to make

       reasonable progress under N.C.G.S. § 7B-1111(a)(2). In re J.S., 374 N.C. at 815, 845

       S.E.2d at 71.

                                             Conclusion

¶ 27         Although respondent-mother has identified some harmless inaccuracies in the

       trial court’s adjudicatory findings of fact, the trial court’s remaining findings of fact

       support its conclusions of law that grounds exist to terminate respondent-mother’s

       parental rights for her neglect of the juvenile Sarah under N.C.G.S. § 7B-1111(a)(1).

       Because respondent-mother does not separately challenge the trial court’s

       determination that terminating respondent-mother’s parental rights to Sarah is in

       the best interests of the juvenile, we affirm the termination of parental rights order.

             AFFIRMED.
